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                       EXHIBIT B
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 1                          UNITED STATES DISTRICT COURT
 2                         CENTRAL DISTRICT OF CALIFORNIA
 3                                  WESTERN DIVISION
 4 DAWAUN LUCAS, individually and on            Case No. 2:20-cv-06059-VAP-E
   behalf of all others similarly situated,
 5                                              DECLARATION OF IAN KYLE
                                                WAILES IN SUPPORT OF MOTION TO
 6                            Plaintiff,        DISMISS PLAINTIFF HOOPER’S AND
                                                TASIN’S CLAIMS UNDER RULE
 7        v.                                    12(B)(3) AND MOTION TO TRANSFER
                                                ENTIRE ACTION UNDER SECTIONS
 8   SMILEDIRECTCLUB, INC., and                 1406(A) AND 1404(A)
     SMILEDIRECTCLUB, LLC,
 9                                              Judge: Honorable Virginia A. Phillips
10
                            Defendants.

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                                                        DECLARATION OF IAN KYLE WAILES
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 1         I, Ian Kyle Wailes, declare, under penalty of perjury, that I am of legal age and sound
 2   mind and, based upon personal knowledge, due investigation and review of records kept in
 3   the ordinary course of business, that the following facts are true and correct.
 4         1.     I am the Chief Financial Officer at SmileDirectClub, Inc. (“SDCI”) and have
 5   held that position since September of 2019. I am also separately the Chief Financial Officer
 6   at SmileDirectClub, LLC (“SDC, LLC”). I have held that position since May of 2018.
 7         2.     In my position as Chief Financial Officer, I have personal knowledge of the
 8   corporate structures of SDCI and SDC, LLC, the offices and employees of each, the
 9   underlying text message program.
10         3.     I have reviewed and am familiar with the Complaint in the action entitled
11   Lucas, et al. v. SmileDirectClub, Inc., et al., No. 2:20-cv-06059 (the “Complaint”).
12   I.    CORPORATE INFORMATION & BACKGROUND.
13         4.     SDCI is a Delaware corporation with its principal place of business in
14   Nashville, Tennessee.
15         5.     SDC, LLC is a Tennessee limited liability company with its principal place of
16   business in Nashville, Tennessee. SDC, LLC is an indirect subsidiary of SDCI.
17         6.     SDCI is a holding company. Through its direct and indirect subsidiaries, SDCI
18   is the industry pioneer and first direct-to-consumer medtech platform for teeth
19   straightening.
20         7.     SDCI has no offices or employees, let alone in California.
21         8.     There are brick and mortar locations in California (known as SmileShops) with
22   SmileDirectClub branding, wherein consumers can provide certain information about their
23   dental and health histories, execute an Informed Consent Agreement, identify their chief
24   complaint and have sophisticated and traditional photos taken of their teeth and gums. The
25   thousands of photos of taken by the sophisticated camera are fed into a computer program
26   to generate a 3D image of the consumer’s teeth and gums. This is one of the ways that a
27   consumer can provide the initial necessary patient information to state-licensed dentists and
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                                                               DECLARATION OF IAN KYLE WAILES
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 1   orthodontists that are affiliated with professional dental practices who have chosen to
 2   engage SmileDirectClub for its dental support organization services and use of its
 3   teledentistry platform to treat their patients with clear aligner therapy. However, none of
 4   the California SmileShop locations are owned or operated by SDCI or SDC, LLC. These
 5   locations are owned and operated by a professional dental practice that has entered into a
 6   suite of agreements for SDC, LLC to provide its dental support organization services,
 7   including a licensing agreement, with a subsidiary of SDCI, for the licensing of SDC,
 8   LLC’s intellectual property. The persons working at these locations are not employed by
 9   SDCI or SDC, LLC, directly or indirectly, and have no control over the text messaging at
10   issue in the Complaint.
11         9.      SDC, LLC has no offices in California. It has a handful of employees (15)
12   working remotely in California, which account for less than 1% of its staff. None of the
13   persons working in California have any control over the text messaging at issue in the
14   Complaint.
15   II.   THE TEXT MESSAGING PROGRAM.
16         10.     As it relates to the text messages at issue in the Complaint, the persons that
17   create and oversee this program are employed by SDC, LLC.
18         11.     All employees involved in creating and overseeing the text message program
19   are located in Nashville, Tennessee, with the exception of one employee working remotely
20   in Vermont.
21         12.     All employees involved in approving and controlling the text message program
22   are located in Nashville.
23         13.     All decisions regarding to whom to send messages, when and what to send
24   were made in and approved in Nashville.
25         14.     The messages sent originate in Nashville.
26         15.     All relevant document custodians, with the exception of the remote employee
27   in Vermont, are located in Nashville.
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                                                               DECLARATION OF IAN KYLE WAILES
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